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   From:            Nestor, Johanna (HHS/ASFR)
   To:              OS - OG CGMO
   Subject:         NOTICE: Preliminary Injunction Distribution
   Date:            Monday, May 19, 2025 1:49:49 PM
   Attachments:     84 - Order Granting PI.pdf



   CGMOs,

   On May 16, 2025, the District Court for the District of Rhode Island, issued a Preliminary Injunction
   (PI). This PI pertains to SAMHSA, CDC, and NIH awards in 23 Plaintiff States and the District of
   Columbia, further sustaining actions directed per the Temporary Restraining Order issued on March
   24, 2025, until the court rules on the merits of the matter.

   Because systems cannot parse out recipients by geographic region, all HHS recipients will receive
   the notification by end of tomorrow.

   Pursuant to the PI, HHS and all its agencies, respective officers, agents, servants, employees and
   attorneys, contractors, grantees, and any persons in active concert or participation with them who
   receive actual notice of the PI (the “Enjoined parities”) are:

      1. Fully enjoined from implementing or enforcing through any means the decision made on or
         about March 24, 2025, that numerous health programs and appropriations responsible for $11
         billion of critical federal financial assistance were "no longer necessary" because the "COVID-
         19 pandemic is over" ("Public Health Funding Decision"), including any funding terminations,
         or from taking any action to reinstitute the Public Health Funding Decision for the same or
         similar reasons. This injunction is limited to funding for Plaintiff States, including their local
         health jurisdictions and any bona fide fiscal agents of Plaintiff States or their local health
         jurisdictions.
      2. Required to immediately treat any actions taken to implement or enforce the Public Health
         Funding Decision, including any funding terminations, as null and void and rescinded. The
         Enjoined Parties must immediately take every step necessary to effectuate this order,
         including clearing any administrative, operational, or technical hurdles to implementation.
      3. Provide written notice of this order to all Defendants and agencies and their employees,
         contractors, and grantees by the end of the day on Tuesday, May 20, 2025.
      4. By the end of the day on Tuesday, May 20, 2025, the Defendants SHALL FILE on the Court's
         electronic docket a Status Report documenting the actions that they have taken to comply
         with this Order, including a copy of the notice and an explanation as to whom the notice was
         sent.

   HHS must continue to take every step necessary to effectuate this PI, including clearing any
   administrative, operational, or technical hurds to implementation.

   Pending any further instructions from the Court, HHS should ensure that it is not implementing,
   applying, or enforcing any terminations with respect to these awards against the Plaintiff States.
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